Case 1:04-cv-01809-JDT-WTL Document 41 Filed 11/08/05 Page 1 of 2 PageID #: 179



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA



 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )        1:04-cv-1809-JDT-WTL
         vs.                                      )        IP 02-CR-129-01-T/F
                                                  )
 WILLIAM J. JONES,                                )
                                                  )
                             Defendant.           )




                           Entry Concerning Selected Matters

       The court, having considered the above action and the matters which are
 pending, makes the following rulings:

         1.    The defendant’s report of his change of address is noted.

         2.    The “motion for expedite expanding the record” filed by the defendant on
               October 19, 2005, is denied. The reasons for this ruling are that (1) the
               action is closed, with final judgment having been entered on the clerk’s
               docket on September 21, 2005, (2) the precise materials with which the
               defendant now seeks to expand the record were attached to his “motion
               for justice” filed on August 12, 2005, and thus were considered by the
               court in resolving the claims presented in the defendant’s motion for relief
               pursuant to 28 U.S.C. § 2255, and (3) the precise materials appended to
               the motion filed on October 19, 2005, were appended to his “motion for
               expedite [sic] expanding the record” filed on September 30, 2005, which
               was properly denied on October 11, 2005.

         IT IS SO ORDERED.


                                                      _______________________________


                                                        John Daniel Tinder, Judge
                                                        United States District Court
         11/08/2005
 Date:
Case 1:04-cv-01809-JDT-WTL Document 41 Filed 11/08/05 Page 2 of 2 PageID #: 180


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